Case 18-55697-lrc             Doc 307   Filed 08/29/20 Entered 08/29/20 18:08:55           Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA

                                      REQUEST FOR
                                   CHANGE OF ADDRESS

CASE NAME: ____________________________________________________________

CASE NO.                __________________ JUDGE _______________      CHAPTER _________

                                              CHANGE FOR

DEBTOR ______                 CREDITOR ______ ATTORNEY _______        (for) Debtor _____
                                                                                  Creditor _____
                                                          Natchez Trace Homeowners Association, Inc.
NOTE: (For Attorneys Only) IF MORE THAN ONE CASE, PLEASE ATTACH LIST.

EFFECTIVE DATE OF CHANGE:                 _____________________________________________

BAR I.D. NUMBER:                          _____________________________________________

NAME:                                     _____________________________________________
                                                              (Please Print)

NEW ADDRESS:                                     _____________________________________________

                                                 _____________________________________________

                                                 _____________________________________________

                                                 _____________________________________________
                                                              (Telephone Number)

*************************************************************
NAME:                            _____________________________________________

OLD ADDRESS:                                     _____________________________________________

                                                 _____________________________________________

                                                 _____________________________________________

THIS CHANGE OF ADDRESS WAS FURNISHED BY: ___________________________

DATE:                                                                    ________________________




F65 (change.add) 1/95
